         Case 2:22-bk-16232-SK           Doc 1-3 Filed 11/14/22 Entered 11/14/22 15:53:38                             Desc
                                         Case Com Def Notice Page 1 of 1
                                        United States Bankruptcy Court
                                         Central District of California
In re:                                                            CHAPTER NO.:   13
Dianne Marie Taylor
                                                                  CASE NO.:   2:22−bk−16232

                             CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:

You must cure the following within 14 days from filing of your petition:

   Certificate of Credit Counseling as required by § 521(b)(1), § 109(h)(1), and FRBP 1007(b)(3), or a Certification of Exigent
Circumstances under § 109(h)(3), or a request for determination by the court under § 109(h)(4)
   Statement of Related Cases (LBR Form 1015−2) [Information required by LBR 1015−2]
   Declaration by Debtor(s) as to Whether Income was Received From an Employer within 60 Days of the Petition Date [11 U.S.C. §
521(a)(1)(B)(iv)] (LBR Form F1002−1)
   Verification of Master Mailing List of Creditors [LBR 1007−1(a)] (LBR Form F1007−1)

The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                Chapter 13     Original only

Please return the original or copy of this form with all required items to the following location:

                 255 E. Temple Street, Room 100, Los Angeles, CA 90012
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: November 14, 2022                                                      For the Court
                                                                              Kathleen J. Campbell
                                                                              Clerk of Court
(Form ccdn − Rev 02/2020)                                                                                                    1 / VF
